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                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            VICTORIA DIVISION

         In re:                                                            Case No. 22-60020

         INFOW, LLC, et al.,                                               Chapter 11

                   Debtors.1                                                (Jointly Administered)


                          AGENDA OF MATTERS THAT MAY BE DISCUSSED AT
                              THE APRIL 29, 2022 STATUS CONFERENCE

                  The above-referenced debtors and debtors in possession (collectively, the “Debtors”) file

     this Agenda of Matters That May Be Discussed at the Status Conference on April 29, 2022, at

     3:00 P.M. (prevailing Central Time) (the “Status Conference”) before the Honorable Christopher

     M. Lopez, United States Bankruptcy Judge, 515 Rusk, 4th Floor, Courtroom 401, Houston, Texas

     77002.

I.                CURRENT STATUS OF PENDING MOTIONS

                  a.     Debtors’ Emergency Motion for Order Authorizing Appointment of Russell F.
                         Nelms and Richard S. Schmidt as Trustees of the 2022 Litigation Settlement Trust
                         and Granting Related Relief [ECF No. 6] – filed April 18, 2022
                               i. Objection of the United States Trustee to Debtors’ Emergency Motion for
                                  Order Authorizing Appointment of Russell F. Nelms and Richard S.
                                  Schmidt as Trustees of the 2022 Litigation Settlement Trust and Granting
                                  Related Relief [ECF No. 18]
                               ii. STATUS: Hearing Date Needed
                  b.     Debtors’ Emergency Application for Interim and Final Orders (A) Authorizing
                         Employment of W. Marc Schwartz as Chief Restructuring Officer, (B)
                         Authorizing Employment of Staff of Schwartz Associates, LLC in Discharge of
                         Duties as Chief Restructuring Officer, and (C) Granting Related Relief [ECF No.
                         7] – filed April 18, 2022
                               i. STATUS: Hearing Date Needed



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       The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification number are as
     follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no EIN), Prison Planet TV, LLC
     (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-1819.
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      c.      Debtors’ Motion for Entry of an Order (I) Setting Bar Dates for Filing Proofs of
              Claims, (II) Establishing Amended Schedules Bar Date and Rejection Damages
              Bar Date, (III) Approving the Form of and Manner for Filing Proofs of Claims,
              (IV) Approving Notice of Bar Dates, and (V) Granting Related Relief [ECF No.
              35]
             i.      STATUS: Hearing Date Needed
      d.      Connecticut Plaintiffs’ Emergency Motion to Dismiss Chapter 11 Cases and
              Objection to Debtors’ Designation as Subchapter V Small Vendors [ECF No. 36]
              – filed April 26, 2022
             i.      Debtor’s Preliminary Objection to Connecticut Plaintiff’s Emergency
                     Motion to Dismiss Chapter 11 Cases and Objection to Debtors’
                     Designation as Subchapter V Small Vendors [ECF No. 40] – filed April
                     27, 2022
            ii.      STATUS: Hearing Date Needed
      e.      The Texas Litigation Plaintiffs’ Supplemental Motion to Dismiss Petition [ECF
              No. 42] – filed April 27, 2022
                  i. STATUS: Hearing Date Needed
II.   REMOVAL, REMAND, TRANSFER VENUE AND WITHDRAWAL OF
      REFERENCE

      a.      Texas Plaintiffs
             i.      Removed Suit: Neil Heslin and Scarlett Lewis v. Alex Jones, Infowars,
                     LLC, Free Speech Systems, LLC and Owen Shroyer, Adv. Proc. No. 22-
                     01023-hcm pending in the United States Bankruptcy Court for the
                     Western District of Texas, Austin Division – Commenced on April 18,
                     2022
                          1. Plaintiffs’ Motion for Abstention and Remand [ECF No. 7] filed
                             April 26, 2022
                             a.     InfoW, LLC’s Response to Plaintiffs’ Motion for
                                    Abstention and Remand [ECF No. 9] – filed April 28, 2022
                          2. Defendant InfoW, LLC’s Motion to Transfer Venue [ECF No. 10]
                             – filed April 28, 2022
            ii.      Removed Suit: Leonard Pozner and Veronique De La Rosa v. Alex Jones,
                     Infowars, LLC, and Free Speech Systems, LLC, Adv. Proc. No. 22-01021-
                     hcm pending in the United States Bankruptcy Court for the Western
                     District of Texas, Austin Division – Commenced on April 18, 2022
                     1.      Defendant InfoW, LLC’s Motion to Transfer Venue [ECF No. 2] –
                             filed April 28, 2022
           iii.      Removed Suit: Michael Fontaine v. Alex Jones, Infowars, LLC, Free
                     Speech Systems, LLC and Kit Daniels, Adv. Proc. No. 22-01022-hcm


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                      pending in the United States Bankruptcy Court for the Western District of
                      Texas, Austin Division – Commenced on April 18, 2022
                      1.      Defendant InfoW, LLC’s Motion to Transfer Venue [ECF No. 7] –
                              filed April 28, 2022
       b.      Connecticut Plaintiffs
              i.      Removed Suit: Erica Lafferty, David Wheeler, Francine Wheeler,
                      Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer
                      Hensel, Jeremy Richman, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto,
                      Jillian Soto, and William Aldenberg v. Alex Emric Jones, InfoWars, LLC;
                      Free Speech Systems, LLC; InfoWars Health, LLC; Prison Planet TV,
                      LLC; Wolfgang Halbig, Corey T. Sklanka, Genesis Communications
                      Network, Inc., and Midas Resources, Inc., Adv. Pro. No. 22-05004
                      pending in the United States Bankruptcy Court for the District of
                      Connecticut, Bridgeport Division – Commenced on April 18, 2022
                      1.      Motion for Remand [ECF No. 5] – filed April 21, 2022
             ii.      Removed Suit: William Sherlach v. Alex Emric Jones, InfoW, LLC; IW
                      Health, LLC; Prison Planet TV, LLC; and Genesis Communications
                      Network, Inc., Adv. Pro. No. 22-05005 pending in the United States
                      Bankruptcy Court for the District of Connecticut, Bridgeport Division –
                      Commenced on April 18, 2022
                      1.      Motion for Remand [ECF No. 5] – filed April 21, 2022
            iii.      Removed Suit: William Sherlach and Robert Parker v. Alex Emric Jones,
                      InfoWars, LLC; Free Speech Systems, LLC; InfoWars Health, LLC;
                      Prison Planet TV, LLC; Wolfgang Halbig, Corey T. Sklanka, Genesis
                      Communications Network, Inc., and Midas Resources, Inc., Adv. Pro. No.
                      22-05006 pending in the United States Bankruptcy Court for the District
                      of Connecticut, Bridgeport Division – Commenced on April 18, 2022
                      1.      Motion for Remand [ECF No. 5] – filed April 21, 2022
III.   RECENT KEY AGREEMENTS FILED

            a. Amended and Restated Declaration of Trust [ECF No. 48-1]

            b. Amended and Restated Plan Support Agreement [ECF No. 48-3]

IV.    MOTIONS TO BE FILED NEXT WEEK BY DEBTORS

       a.      Motion for (A) Order Authorizing the Estimation of Litigation Claims, for
               Distribution Purposes, Establishing Claim Estimation Procedures, and Granting
               Related Relief, and (B) Order Estimating Litigation Claims Pursuant to 11 U.S.C.
               Section 502(c)
       b.      Debtors’ Motion for Entry of an Order Compelling Mediation of Plan and
               Confirmation Related Disputes


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                  i. Request mediation in month of June 2022
                  ii. Request confirmation hearing in late July and early August 2022




Dated: April 29, 2022.                             Respectfully submitted,

                                                   /s/Kyung S. Lee
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                                                   Proposed Counsel to the Debtors




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                                 CERTIFICATE OF SERVICE

        I hereby certify, a true and correct copy of the foregoing document was served (a) by the
Court’s CM/ECF system on all parties registered to receive such service and (b) on the following
parties by email:

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